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US. DISTRICT ¢
EASTERN DISTRICT ARKANSAS

APR 23 1999
IN THE UNITED STATES DISTRICT COURFyro
FOR THE EASTERN DISTRICT OF ARKANSAS. CCORMACK, CLERK

DEP CLERK

 

UNITED STATES OF AMERICA,
ex rel. MICHAEL TODD HIGHFILL, This crea aeciqned to District Judge

and to magistrate Judge
and

MICHAEL TODD HIGHFILL,
COMPLAINT

CIVIL action no. J-(-94-|lo|

Plaintiffs,

Vv.

 

KELLER AMBULANCE SERVICE,
INC.; KELLER AMBULANCE
SERVICE; MARK KELLER,
INDIVIDUALLY AND DOING
BUSINESS AS KELLER AMBULANCE
SERVICE; CLARENCE WOODARD,
INDIVIDUALLY AND DOING
BUSINESS AS KELLER AMBULANCE
SERVICE; WADE MURRAY, and
RAY KEECH, FILED IN CAMERA
AND UNDER SEAL
Defendants.

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JURY TRIAL DEMANDED

 

COMPLAINT
{False Claims Act)

PRELIMINARY STATEMENT

 

This lawsuit is based upon an on-going scheme by Defendants
Keller Ambulance Service, a provider of ambulance services, and its
officers and owners, to defraud the United States through the

Medicare program. Plaintiff Michael Todd Highfill, by the

 
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undersigned counsel, brings this civil action on behalf of and in
the name of the United States of America under the qui tam
provisions of the federal False Claims Act, 31 U.S.C. §§ 3729-3733,
and on behalf of himself under the whistleblower protection
provision of the False Claims Act, 31 U.S.C. §& 3730(h), and
alleges:

JURISDICTION AND VENUE

 

1. Counts I, II, and III of this Complaint are civil actions
by Plaintiff Michael Todd Highfill, acting on behalf of and in the
name of the United States, against Defendants Keller Ambulance
Service, Inc., Keller Ambulance Service, Mark Keller, Clarence
Woodard, Wade Murray and Ray Keech under the federal False Claims
Act, 31 U.S.C. §§ 3729-3733. This Court has jurisdiction pursuant
to 28 U.S.C. §§ 1331 and 1345, and 31 U.S.C. § 3732(a).

2. Count IV of this Complaint is a civil action by Plaintiff
Michael Todd Highfill, individually, against Defendants Keller
Ambulance Service, Inc., Keller Ambulance Service, Mark Keller and
Clarence Woodard under the "whistleblower protection" provision of
the federal False Claims Act, 31 U.S.C. § 3730(h). This Court has
jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1345, and 31 U.S.C.
§ 3730(h).

3. This case raises allegations that Defendants have defrauded

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the federal Medicare program through the submission of false claims
for payment for the provision of ambulance services. Reimbursement
for Medicare claims is made by the United States through the Health
Care Finance Administration (“ HCFA” ), an agency within the United
States Department of Health and Human Services. HCFA, in turn,
contracts with private insurance intermediaries and carriers to
administer and pay for claims from the Medicare Trust Fund. To
that end, HCFA has contracted with Arkansas Blue Cross and Blue
Shield to administer the payment of claims to Medicare providers in
Arkansas. All Medicare claims for payment, including the false
claims for payment submitted by Keller Ambulance Service, are
submitted to Arkansas Blue Cross and Blue Shield which is located
at 601 Gaines Street, Little Rock, Arkansas 72203, in this judicial
district.

4. Defendants Keller Ambulance Service, Inc., Keller Ambulance
Service, Mark Keller, Clarence Woodard, Wade Murray and Ray Keech
all reside and/or transact business in this judicial district. In
addition, many of the acts proscribed by 31 U.S.C. § 3729(a), such
as the submission of false claims for payment, took place in this
judicial district. This Court, therefore, has personal
jurisdiction over the Defendants and venue is appropriate in this

district pursuant to 31 U.S.C. § 3732(a) which provides that any
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action under 31 U.S.C. § 3730 may be brought “in any judicial
district in which . . . any one defendant can be found, resides,
transacts business, or in which any act proscribed by section 3729
occurred.”

5. None of the allegations set forth in this Complaint is
based on a public disclosure of allegations or transactions ina
criminal, civil, or administrative hearing, in a congressional,
administrative, or General Accounting Office report, hearing,
audit, or investigation, or from the news media.

6. Plaintiff Michael Todd Highfill has direct and independent
knowledge, within the meaning of 31 U.S.C. § 3730(e) (4) (B), of the
information on which the allegations set forth in this Complaint
are based. Moreover, prior to any public disclosure of the
allegations or transactions on which this Complaint is based, and
prior to filing this lawsuit, Plaintiff voluntarily provided the
information set forth herein to agents of the Federal Bureau of
Investigation and the Department of Health and Human Services’

Office of the Inspector General.

PARTIES
7. Plaintiff Michael Todd Highfill ("the Relator" or
“ Highfill” ) is a citizen of the United States and a resident of
Searcy, Arkansas. Highfill has been a licensed paramedic for

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approximately nine years. Beginning in mid-October 1998 and
continuing for two weeks thereafter, Highfill worked for Keller
Ambulance Service. During that time, Highfill personally observed
instances of the unlawful conduct that are described in this
Complaint. After Highfill confronted management of Keller
Ambulance Service with the fact that it was engaging in illegal
activities, and after Highfill refused to falsify records as
requested by management, Keller Ambulance Service terminated
Highfill's employment.

8. Defendant Keller Ambulance Service, Inc., is the name of
the entity that employed Highfill according to Highfill’s 1998 IRS
Form W-2 Wage and Tax Statement. That form shows this entity has
employer identification number 71-079439. However, the Arkansas
Secretary of State has no record that Keller Ambulance Service,
Inc. is an Arkansas corporation or a foreign corporation registered
to do business in Arkansas. To the extent this entity exists under
this name, Highfill alleges on information and belief that Keller
Ambulance Service, Inc., is an Arkansas corporation with its
principal place of business in Jonesboro, Arkansas. On information
and belief, Keller Ambulance Service, Inc., (to the extent it may
exist) is also known as Keller Ambulance Service.

9. Defendant Keller Ambulance Service is a privately-owned

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company which provides ambulance services in Arkansas. Keller
Ambulance Service is based in Jonesboro, and has other offices in
Lake City, Harrisburg, and Pocahontas. According to its 1999
Ambulance Service License Application, Keller Ambulance Service
operates 7 ambulances, but Highfill is informed and believes it
operated approximately 12 ambulances in October 1998. Keller
Ambulance Service employs approximately 25 paramedics and
approximately 25 emergency medical technicians ("EMTs").

10. Defendant Mark Keller is one of the owners of Keller
Ambulance Service. On information and belief Keller Ambulance
Service is a partnership, joint venture or other form of business
entity for which Mark Keller is personally liable. In the
alternative, Mark Keller is personally liable for the operations of
Keller Ambulance Service, Inc. because that entity does not exist
as a corporation in Arkansas even though Mark Keller has conducted
business in that name. Upon information and belief, Mark Keller
has had knowledge of, has encouraged and/or directed, and has
benefitted from the submission of the claims described in this
Complaint, “ knowing,” as the term is defined in 31 U.S.C. §
3729(b), that these claims were false.

11. Defendant Clarence Woodard is one of the owners of Keller

Ambulance Service. On information and belief Keller Ambulance
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Service is a partnership, joint venture or other form of business
entity for which Clarence Woodard is personally liable. In the
alternative, Clarence Woodard is personally liable for the
operations of Keller Ambulance Service, Inc. because that entity
does not exist as a corporation in Arkansas, even though Clarence
Woodard has conducted business in that name. Upon information and
belief, Clarence Woodard has had knowledge of, has encouraged
and/or directed, and has benefitted from the submission of the
claims described in this Complaint, “ knowing,” as the term is
defined in 31 U.S.C. § 3729(b), that these claims were false.

12. Defendant Wade Murray is the Director of Operations and
an agent of Keller Ambulance Service. Upon information and belief,
Wade Murray has had knowledge of, has encouraged and/or directed,
and has benefitted from the submission of the claims described in
this Complaint, “ knowing,” as the term is defined in 31 U.S.C. §
3729(b), that these claims were false. At all times relevant to
this Complaint, Wade Murray was acting within the scope of his
agency and employment with Keller Ambulance Service.

13. Defendant Ray Keech is the Medicare Compliance Officer
and an agent of Keller Ambulance Service. Upon information and
belief, Ray Keech has had knowledge of, has encouraged and/or

directed, and has benefitted from the submission of the claims
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described in this Complaint, “ knowing,” as the term is defined in
31 U.S.C. § 3729(b), that these claims were false. At all times
relevant to this Complaint, Ray Keech was acting within the scope
of his agency and employment with Keller Ambulance Service.

14. The United States Department of Health and Human Services
(“ HHS” ), acting by and through HCFA, is an agency of the United
States responsible for, among other things, administering the
Medicare program under which the providers of ambulance services
may be reimbursed with federal funds.

MEDICARE REIMBURSEMENT FOR AMBULANCE SERVICES

 

15. Title XVIII of the Social Security Act, 42 U.S.C. §8§
1395, et seq., establishes the Health Insurance for the Aged and
Disabled Program, popularly known as the Medicare program. The
Medicare program is comprised of two parts. Part A provides basic
insurance for the costs of hospitalization and post-hospitalization
care. 42 U.S.C. §§ 1395c-1395i-2 (1992). Part B is a federally
subsidized, voluntary insurance program that pays for a wide range
of medical services and supplies, such as physician services. 42
U.S.C. §§ 1395k, 13951, 1395x(s). Reimbursement for Medicare
claims is made by the United States through HCFA. HCFA, in turn,
contracts with private intermediaries and carriers to administer
and pay Part A and Part B claims from the Medicare Trust Fund. 42

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U.S.C. § 1395u. In this capacity, the intermediaries and carriers
act on behalf of HCFA. 42 C.F.R. § 421.5(b).

16. Under some circumstances, Part B of the Medicare program
covers ambulance transportation. 42 C.F.R. § 410.40. However,

Medicare only reimburses beneficiaries for non-emergency ambulance

services under specific, limited conditions. 42 C.F.R. §
410.40(b).

17. In order to be covered by Medicare, ambulance services
must be "medically necessary,” i.e., the use of other means of

transportation would endanger the patient’s health, whether or not
such other transportation is actually available. Medicare Carrier
Manual (“ MCM” ) § 2120.2({A).

18. In addition, Medicare covers ambulance services only if
they are reasonable in the treatment of the illness or injury
involved. MCM § 2120.2(B).

19. Medicare reimbursement rules specifically state that a
“ beneficiary receiving maintenance dialysis on an outpatient basis
is not ordinarily ill enough to require ambulance transportation
for dialysis treatment.” MCM § 2120.3. Accordingly, Medicare
carriers are instructed: “ Carefully review round trip ambulance
services to outpatient dialysis facilities on a per visit basis for
medical necessity. Deny claims for transportation to freestanding

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medical necessity. Deny claims for transportation to freestanding
dialysis facilities for routine maintenance dialysis treatments.”
MCM § 4115.

20. Ambulance transportation providers submit claims for
reimbursement to the Medicare program on a claim form known as a
"HCFA 1491." The HCFA 1491 requires the provider to describe,
among other things, the illness or injury that made ambulance
transportation necessary.

THE FRAUDULENT ACTIVITIES

 

21. Each day, Keller Ambulance Service has provided scheduled
(non-emergency) medical transfers for approximately 60 patients.
These medical transfers have involved transporting patients to
dialysis treatments, rehabilitation treatments, or regular office
visits with physicians. The Relator is informed and believes that
most of these transfers have been billed to, and paid for, by the
Medicare program. The Relator is further informed and believes,
however, that most of these patients have been ambulatory, and that
the use of an ambulance to transport them has been neither
medically necessary nor reasonable in the treatment of the
patients’ illness or injury.

22. Each time a patient is transported by ambulance in
Arkansas, the paramedic is required to complete an EMS Encounter

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Form, or "Run Form," which documents the ambulance run. The form
has a space for "chief complaint" in which the paramedic is
supposed to state the patient's description of his chief complaint.
Defendant Ray Keech, the Medicare Compliance Officer for Keller
Ambulance Service, instructed the Relator to make sure that there
was a “ chief complaint” listed on every Run Form.

23. For every scheduled patient trip, Keller Ambulance
Service requires its paramedics to take a clipboard with a sheet of
paper listing various information, including the patient's
customary complaints. This is meant to instruct the paramedic on
what to state as the "chief complaint" in the Run Form.

24. The Run Form also has a space for a narrative in which
the paramedic can describe the patient's condition, i.e., whether
the patient is or is not ambulatory. Defendant Wade Murray, the
Director of Operations for Keller Ambulance Service, instructed the
Relator always to write on the Run Form that the patient was
nonambulatory, and always to state that the patient was strapped to
the cot in the ambulance for transportation, regardless of what the
facts really were.

25. Upon information and belief, Keller Ambulance Service
keeps CMNs, complete with the physicians' signatures, on its
computer. Upon information and belief, in order to document the

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medical necessity of any particular ambulance transfer, Keller
Ambulance Service would simply print a copy of the CMN and use it
as though it were an original.

26. While employed at Keller Ambulance Service, the Relator
was responsible for transporting several Medicare patients for
routine dialysis treatments. Most of these patients were
ambulatory. One particular patient, whom Relator transported about
12 times in two weeks, was ambulatory on every occasion: he usually
walked from his house to the ambulance or climbed off of his
tractor to walk to the ambulance. The patient information on the
clipboard stated that this patient complained of "knee pain." On
a Friday, after he had been working at Keller Ambulance Service for
two weeks, the Relator had a discussion about this patient with
Defendant Ray Keech, the Medicare Compliance Officer. During that
encounter, the Relator told Mr. Keech that there was no legitimate
chief complaint that would support ambulance transportation of this
particular patient, and that he would not lie on the paperwork.
Mr. Keech responded that the Relator had to fill in a chief
complaint on the Run Form and stated that the Relator could always
use "knee pain" as the chief complaint, since the patient's knees
sometimes hurt. The following Monday, Keller Ambulance Service
terminated the Relator's employment. At that time, Defendant Wade

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Murray told the Relator he was not a “ team player.”

27. Upon information and belief, Keller Management Service
submitted false claims to the Medicare program, which claims were
paid by the United States, for ambulance services provided to this
particular patient who purportedly had "knee pain." The claims
were based on documentation, including a HCFA 1491, which falsely
indicated that the services were medically necessary and that the
patient was being transported for some reason other than routine
dialysis, which was the true reason for the transport.

28. Upon information and belief, since it was founded in or
about 1994, Keller Ambulance Service has knowingly submitted false
claims to Medicare, which claims were paid by the United States,
for numerous services provided to patients. The claims were
supported by documentation that was false in that it falsely
indicated that the services were medically necessary and reasonable
in the treatment of the patients’ illness or injury. Upon
information and belief, because of these false claims, the United
States has paid Keller Ambulance Service in excess of ($5,000,000)
five million dollars to which Keller Ambulance Service was not
entitled.

COUNT I

(Federal False Claims Act - 31 U.S.C. § 3729(a)(1))

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29. This is a civil action by plaintiff Michael Todd
Highfill, acting on behalf of and in the name of the United States,
against Defendants Keller Ambulance Service, Inc., Keller Ambulance
Service, Mark Keller, individually and doing business as Keller
Ambulance Service, Clarence Woodard, individually and doing
business as Keller Ambulance Service, Wade Murray and Ray Keech
under the False Claims Act.

30. Plaintiff realleges and incorporates by reference
paragraphs 1 through 28 as though fully set forth herein.

31. The Defendants have knowingly submitted false or
fraudulent claims for payment, or caused false or fraudulent claims
for payment to be submitted, to officials of the United States
Government, in violation of 31 U.S.C. § 3729(a) (1).

32. Because of the Defendants' conduct set forth in this
Count, the United States has suffered actual damages.

COUNT ITI
(Federal False Claims Act - 31 U.S.C. § 3729({(a) (2))

33. This is a civil action by plaintiff Michael Todd
Highfill, acting on behalf of and in the name of the United States,
against Defendants Keller Ambulance Service, Inc., Keller Ambulance
Service, Mark Keller, individually and doing business as Keller

Ambulance Service, Clarence Woodard, individually and doing

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business as Keller Ambulance Service, Wade Murray and Ray Keech
under the False Claims Act.

34. Plaintiff realleges and incorporates by reference
paragraphs 1 through 28 as though fully set forth herein.

35. The Defendants have knowingly made or used, or caused to
be made or used, false records or statements to get false or
fraudulent claims paid or approved by officials of the United
States Government, in violation of 31 U.S.C. § 3729(a) (2).

36. Because of the Defendants' conduct set forth in this
Count, the United States has suffered actual damages.

COUNT III
(Federal False Claims Act - 31 U.S.C. § 3729(a) (3))

37. This is a civil action by plaintiff Michael Todd
Highfill, acting on behalf of and in the name of the United States,
against Defendants Keller Ambulance Service, Inc., Keller Ambulance
Service, Mark Keller, individually and doing business as Keller
Ambulance Service, Clarence Woodard, individually and doing
business as Keller Ambulance Service, Wade Murray and Ray Keech
under the False Claims Act.

38. Plaintiff realleges and incorporates by reference
paragraphs 1 through 28 as though fully set forth herein.

39. The Defendants have conspired among themselves and/or

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with others to defraud the Government by getting false or
fraudulent claims allowed or paid, in violation of 31 U.S.C. §
3729(a) (3).

40. Because of the Defendants’ conduct set forth in this
Count, the United States has suffered actual damages.

COUNT IV
(Federal False Claims Act - 31 U.S.C. § 3730(h))

41. This is a civil action by plaintiff Michael Todd
Highfill, individually, against Defendants Keller Ambulance
Service, Inc., Keller Ambulance Service, Mark Keller, individually
and doing business as Keller Ambulance Service, and Clarence
Woodard, individually and doing business as Keller Ambulance
Service, under the "whistleblower protection" provision of the
False Claims Act.

42. Plaintiff realleges and incorporates by reference
paragraphs 1 through 40 as though fully set forth herein.

43. Upon discovering the Defendants' unlawful acts described
in this Complaint, Plaintiff confronted management of Keller
Ambulance Service about the unlawful nature of the Defendants'
activities, and in contravention of Defendants' instructions, he
refused to falsify documents. In so doing, Plaintiff was engaging

in lawful acts in furtherance of an action to be filed under the

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False Claims Act. Because of Plaintiff's lawful acts, Keller
Ambulance Service immediately terminated Plaintiff, in violation of
31 U.S.C. § 3729(h).

44. Because of Keller Ambulance Service's conduct set forth
in this Count, the Plaintiff has suffered actual damages, including

lost wages and other special damages.

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PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff Michael Todd Highfill prays for the
following relief:

1. On Counts I, II, and III, judgment for the United States
against each of the Defendants, jointly and severally, in an amount
equal to three times the damages the United States Government has
sustained because of the Defendants' actions, plus a civil penalty
of $10,000 for each violation of 31 U.S.C. § 3729;

2. On Counts I, II, and III, an award to the Relator of the
maximum allowed under 31 U.S.C. § 3730(d);

3. On Count IV, judgment for Plaintiff Michael Todd
Highfill, individually, against Defendants Keller Ambulance
Service, Inc., Keller Ambulance Service, Mark Keller, individually
and doing business as Keller Ambulance Service, and Clarence
Woodard, individually and doing business as Keller Ambulance
Service, in an amount equal to two times the amount of back pay,
interest on the back pay, plus special damages.

4. Against all Defendants, attorneys' fees, expenses, and
costs of suit herein incurred; and

5. Such other and further relief as the Court deems just and

proper.

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DEMAND FOR JURY TRIAL

 

Plaintiff hereby demands that this matter be tried before a

jury.

Dated: April 22,

1999

Respectfully submitted,

Jess Askew III, Attorney at Law
212 Center Street, 10th Floor
Little Rock, AR 72201

Tel. (501) 376-8816

Fax (501) 374-5463

By: wa.
JessS Askew III #86005
ra L. Williams #97056
Mark W. Hodge #97205

 

and

Robert L. Vogel

1225 19th Street, N.W., #300
Washington, D.C. 20036

Tel. (202) 223-1694

Fax (202) 223-1716

Attorneys for Michael Todd Highfill

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